Case 1:13-cr-00473-RM Document 86 Filed 11/04/14 USDC Colorado Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Criminal Case No. 13-cr-00473-RM

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1. GARY SNISKY,

       Defendant.


                          NOTICE OF ENTRY OF APPEARANCE


       COMES NOW Celeste Rangel, Assistant United States Attorney, and enters her

appearance as co-counsel for the Government in the above-captioned action.     Please include the

undersigned counsel on all future correspondence, notices and pleadings in this case.

       Dated this 4th day of November, 2014.

                                                    Respectfully submitted,

                                                    JOHN F. WALSH
                                                    United States Attorney

                                                    By: s/Celeste Rangel
                                                    CELESTE RANGEL
                                                    Assistant U.S. Attorney
                                                    United States Attorney=s Office
                                                    1225 Seventeenth Street, Suite 700
                                                    Denver, Colorado 80202
                                                    Telephone: (303) 454-0100
                                                    Fax: (303) 454-0403
                                                    E-mail: Celeste.Rangel@usdoj.gov
                                                    Attorney for the Government
Case 1:13-cr-00473-RM Document 86 Filed 11/04/14 USDC Colorado Page 2 of 2




                               CERTIFICATE OF SERVICE

       I hereby certify that on this 4th day of November, 2014, I electronically filed the
foregoing NOTICE OF ENTRY OF APPEARANCE with the Clerk of the Court using the
CM/ECF system which will send notification of such filing to the following e-mail addresses:

       Robert Pepin
       Email: Robert_Pepin@fd.org

       Pegeen Rhyne
       Email: Pegeen.Rhyne@usdoj.gov

       Tonya Andrews
       Email: Tonya.Andrews@usdoj.gov



                                            By: s/Amanda Doyle
                                            AMANDA DOYLE
                                            Legal Assistant
                                            1225 Seventeenth Street, Suite 700
                                            Denver, Colorado 80202
                                            Telephone: (303) 454-0100
                                            Facsimile: (303) 454-0406
                                            E-mail: Amanda.Doyle2@usdoj.gov




                                               2
